
26 Ill. App.3d 686 (1975)
325 N.E.2d 335
FREDERICK HERRSCHNER, Plaintiff-Appellee,
v.
XTTRIUM LABORATORIES, INC., Defendant-Appellant.
No. 60538.
Illinois Appellate Court  First District (5th Division).
February 14, 1975.
John L. Malone and Donald W. Larson, both of Chicago (Riordan, Malone &amp; Kelly, of counsel), for appellant.
Morris Solomon, of Chicago (Kennedy, Golan, Morris, Spangler &amp; Greenberg, of counsel), for appellee.
Abstract of Decision.
Reversed and remanded.
